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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    CENTRAL DIVISION

VICKIE WAYMACK, Individually and
as Administrator of the Estate of Samuel
Tucker, deceased                                             PLAINTIFF

v.                        No. 4:22-cv-1095-DPM

PRAIRIE SNF OPERATIONS, LLC and
John and Jane Does 1-20                                  DEFENDANTS

                             JUDGMENT
     Waymack' s complaint is dismissed without prejudice.


                                        D.P. Marshall Jr.
                                        United States District Judge
